
















In The


Court of Appeals


Sixth Appellate District of Texas at Texarkana



______________________________



No. 06-08-00139-CR


______________________________




JESSIE RUIZ, Appellant



V.



THE STATE OF TEXAS, Appellee




                                              


On Appeal from the Criminal District Court #4


Dallas County, Texas


Trial Court No. F07-24603-K




                                                 




Before Morriss, C.J., Carter and Moseley, JJ.


Memorandum Opinion by Justice Moseley



MEMORANDUM OPINION



	Jessie Ruiz appeals from his conviction in Dallas County (1) for evading arrest.  After pleading
guilty, the jury assessed his punishment at two years' imprisonment in a state-jail facility.  Ruiz
presently has five other convictions currently on appeal before this Court. (2)

	On appeal, Ruiz contends that his appointed counsel's failure to object when the State
explained parole law, mentioned plea bargaining, and allegedly interjected new evidence during
closing arguments in the punishment phase amounted to ineffective assistance of counsel.

	We addressed this issue in detail in our opinion of this date on Ruiz's appeal in cause number
06-08-00136-CR.  For the reasons stated therein, we likewise conclude that ineffective assistance
of counsel has not been shown.

	We affirm the judgment. 



						Bailey C. Moseley

						Justice


Date Submitted:	January 5, 2009

Date Decided:		January 8, 2009


Do Not Publish

1. The conviction having been in Dallas County, this case was originally appealed to the Fifth
Court of Appeals and was then transferred to this Court by the Texas Supreme Court pursuant to its
docket equalization efforts.  See Tex. Gov't Code Ann. §&nbsp;73.001 (Vernon 2005).  We are unaware
of any conflict between precedent of the Fifth Court of Appeals and that of this Court on any relevant
issue.  See Tex. R. App. P. 41.3.
2. Ruiz appeals from six convictions.  In cause number 06-08-00136-CR, he appeals a
conviction for possession of methamphetamine in an amount between four and 200 grams, with
intent to deliver, for which he received twenty years' and four months' imprisonment.  In cause
numbers 06-08-00137-CR and 06-08-00138-CR, he appeals convictions for possession of marihuana
in an amount between four ounces and five pounds, and possession of less than one gram of cocaine,
respectively.  In these two cases, Ruiz was sentenced to two years' imprisonment in a state-jail
facility, to run concurrently.  Ruiz also appeals his conviction in cause number 06-08-00140-CR of
possession of methamphetamine in an amount between one and four grams.  Ruiz was sentenced in
this case to five years' imprisonment, to run concurrently.  Finally, in cause number 06-08-00141-CR, Ruiz was convicted of attempting to take a weapon from a police officer, for which he received
two years' imprisonment in a state-jail facility, to run concurrently, and was assessed a $2,000.00
fine. 


nce before, then he probably did it again," an inference
which can be heavily prejudicial.  However, an appellate court owes no less deference to the trial
court in making this decision of relevancy apart from character conformity than the reviewing court
affords the trial court in making any other relevancy determinations.  Id. (citing Montgomery v. State,
810 S.W.2d 372, 391 (Tex. Crim. App. 1991) (op. on reh'g)).  

	Erickson's first appellate issue complains of the trial court's decision to admit State's Exhibit
4, a voice-recorded interview lasting six minutes and fifty-eight seconds.  During this interview,
Erickson confessed to officers with the Lubbock, Texas, police department, that in January 2006,
he had sexually assaulted an eight-year-old Nolan County girl (a victim separate from the one
relevant to Erickson's conviction now on appeal before this Court). (2)

	The State argued before the trial court, as it does again now on appeal, that this extraneous-offense evidence was admissible to show Erickson acted knowingly and intentionally, and with
intent to arouse or gratify his sexual desire with respect to the Fannin County crime alleged to have
occurred five years earlier.  The State correctly notes that intent is an essential element of the crime
of attempted indecency with a child.  See Tex. Penal Code Ann. § 15.01(a).  The State suggests
Erickson's criminal intent "could not be inferred solely from his acts" on the date in question because
Erickson had claimed elsewhere that he was merely trying to give the victim in this case a hug and
that any touching of the victim's breast was merely accidental.  Additionally, the record shows
Erickson's defense strategy was that he lacked any intent to commit the crime at issue, and the record
further demonstrates Erickson first raised this issue in his opening remarks to the jury (before any
evidence was presented by the State).  More specifically, Erickson's counsel told the jury that the
central issue in the case would be "not whether [Erickson] tried to give [the victim] a hug, [but]
whether he was doing this for sexual gratification."  Erickson's counsel also argued in his opening
statement (made prior to the presentation of any evidence):

		Now, the questions that you will have at the end of this case are, did
Mr.&nbsp;Erickson actually touch the breasts of [the victim]?  It's possible.  I'm going to
give you that.  Did he do it for sexual gratification?  The answer is absolutely no. 
And if there was a touching, could it have been accidental and not for the purpose of
sexual gratification?

		After you hear the evidence in this case, there is only one conclusion you can
come to and that conclusion is that Mr. Erickson is not guilty of what the State says
he did.


	During the presentation of evidence and on cross-examination, Erickson asked Lisa Scamp,
the State's first witness and an outcry witness, whether she had seen Erickson physically or sexually
assault the victim.  See Tex. Code Crim. Proc. Ann. art. 38.072 (Vernon 2005) (creating statutory
exception to hearsay rule for child outcries).  Scamp replied that she did not personally witness
Erickson commit any assault against the victim.  The purpose of this line of questioning was clearly
to suggest the alleged assault was a fiction of the victim's design to cause harm to her stepfather,
Erickson.

	In Wheeler v. State, 67 S.W.3d 879, 886-89 (Tex. Crim. App. 2002), Judge Cochran, writing
for a majority of the Texas Court of Criminal Appeals, reviewed a conviction for aggravated sexual
assault in which the State had brought forth evidence of other molestations committed by the
appellant.  Judge Cochran noted that Wheeler's opening statement to the jury had outlined a theory
of lack of opportunity for Wheeler to have committed the crime.  Id. at 887 n.21 (citing favorably
this Court's decision in Abshire).  However, the defense had also introduced testimony from several
witnesses that Wheeler lacked any opportunity to commit the crime, and such evidence was
presented before the State proffered the extraneous-offense evidence at issue in that case.  Id.  The
Wheeler court noted, "Because numerous witnesses testified to appellant's lack of opportunity to
sexually molest S.E., the rebuttal testimony by S.S. provided, at a minimum, the 'small nudge'
towards contradicting appellant's defensive theories and towards proving that the molestation did
indeed occur."  Id. at 888 (footnote omitted).  In conclusion, the court held that the trial court did not
abuse its discretion by admitting the extraneous-offense evidence.  Id. at 888-89.

	In Powell v. State, the defendant had, during his opening statement, set forth a defensive
theory that the alleged molestation did not occur because others were present in the room at the time
of the alleged offense.  63 S.W.3d 435, 436 (Tex. Crim. App. 2001).  This defensive theory was also
presented during Powell's cross-examination of the victim.  Id.  The prosecution then countered
Powell's attempts to negate the State's evidence by presenting, during its case-in-chief, four witnesses
who testified that Powell had molested them "under circumstances almost identical to those of the
charged offense."  Id. at 437.  On reviewing Powell's claim that the trial court had abused its
discretion by admitting the extraneous-offense evidence, this State's highest criminal court concluded
the trial court "could have reasonably decided that the extraneous offense evidence at issue had
noncharacter conformity relevance where it rebutted appellant's defensive theory that he had no
opportunity to commit the offense because he was never alone with the complainant."  Id. at 438. 
The majority opinion, authored by Judge Hervey, then went further and expressly disagreed with
Judge Johnson's concurring opinion that an opening statement can never serve to "open the door"
to the State's use of Rule 404(b) evidence in its case-in-chief.  Id. at 439-40 (citing United States v.
Bari, 750 F.2d 1169, 1180 (2nd Cir. 1984); United States v. Price, 617 F.2d 455, 459-60 (7th Cir.
1979); United States v. Olsen, 589 F.2d 351, 352 (8th Cir. 1978)).  

	This Court has previously held that a defendant's opening statement can by itself "open the
door" to Rule 404(b) evidence.  Jones v. State, No. 06-07-00088-CR, 2007 Tex. App. LEXIS 9490,
at *6 (Tex. App.--Texarkana Dec. 5, 2007, no pet.) (designated for publication).  Two other
intermediate appellate courts of this State have reached a similar conclusion, although both have
done so in unpublished opinions.  See Aranda v. State, No. 13-03-00302-CR, 2004 Tex. App. LEXIS
10370, at *3-4 (Tex. App.--Corpus Christi Nov. 18, 2004, no pet.) (mem. op., not designated for
publication); Guzman v. State, No. 13-03-00303-CR, 2004 Tex. App. LEXIS 7693, at *6-8 (Tex.
App.--Corpus Christi Aug. 24, 2004, no pet.) (mem. op., not designated for publication); McDowell
v. State, No. 05-02-00542-CR, 2002 Tex. App. LEXIS 8191, at *2-3 (Tex. App.--Dallas Nov. 20,
2002, pet. ref'd) (not designated for publication).  Other courts (including our own, at times) have
been more cautious, concluding that a defendant's opening statement might open the door, but such
decisions appear to have also included situations wherein the defendant vigorously cross-examined
the government's witnesses in furtherance of that defensive theory and such evidence came before
the jury before the prosecution brought forth the additional extraneous-offense evidence.  See, e.g.,
Price, 617 F.2d at 459-60; Morales v. State, 222 S.W.3d 134, 147-48 (Tex. App.--Corpus Christi
2006, no pet.); Phillips v. State, No. 06-06-00018-CR, 2006 Tex. App. LEXIS 10622, at *12-16
(Tex. App.--Texarkana Dec. 14, 2006, no pet.) (mem. op., not designated for publication); Thomas
v. State, No. 05-03-01445-CR, 2004 Tex. App. LEXIS 6448, at *4-5 (Tex. App.--Dallas July 20,
2004, no pet.) (not designated for publication); and cf. Booker v. State, No. 02-02-00119-CR, 2003
Tex. App. LEXIS 9248, at *16-22 (Tex. App.--Dallas Oct. 30, 2003, no pet.) (not designated for
publication) (noting State had argued that appellant opened door to extraneous evidence via opening
statement as well as vigorous cross-examination of witness, but court avoided issue by finding that
appellant was not harmed without necessarily deciding extraneous admission was error); Mattox v.
State, No. 06-01-00212-CR, 2003 Tex. App. LEXIS 9007, at *2-11 (Tex. App.--Texarkana Oct.
23, 2003, no pet.) (not designated for publication) (counsel's opening statement, cross-examination
of victim, and defendant's own testimony espousing a lack of opportunity defensive theory supported
trial court's decision to admit extraneous-offense evidence); Keen v. State, 85 S.W.3d 405, 412-15
(Tex. App.--Tyler 2002, pet. ref'd) (counsel's opening statement and vigorous cross-examination
of victim regarding defensive theory opened door for State to seek admission of extraneous offense).

	Erickson's case does not require us to hold that a defendant's opening statement, standing 
alone, may justify admission of Rule 404(b) evidence to refute an outlined defensive strategy.  This
is because, in addition to outlining (during his opening statement) a defensive theory about the lack
of intent, Erickson pursued an attack on the State's evidence via cross-examination that furthered this
previously-outlined defensive strategy.  Only thereafter did the State seek admission of the at-issue
Rule 404(b) evidence in this case.  The two considerations of Erickson's cross-examination and his
opening statement combined to provide the trial court with a reasonable justification to admit the
State's nearly seven-minute videotaped Rule 404(b) evidence as part of a strategy to rebut Erickson's
defensive strategy regarding a lack of intent to commit the crime then on trial.  No abuse of
discretion is apparent from the appellate record.

	We overrule Erickson's first point of error.

II.	Jail Clothing

	In his second point of error, Erickson contends the trial court erred by permitting the State
to show an hour-long videotaped interview (3) of Erickson by law enforcement officers; during the
interview, Erickson is clad in distinctive orange- and white-striped prisoner overalls.  Erickson
objected to the State playing the videotape at trial on the basis that the videotape's visual depiction
of Erickson wearing jail clothes violated his right to due process by impinging on his right to be
presumed by the jury to be innocent.  The trial court overruled Erickson's objection, permitted the
State to play the videotape, and instructed the jury (prior to publication of the videotape) that the fact
Erickson was arrested or otherwise confined for the alleged crime should not be seen by the jury as
providing an inference of guilt. (4)  On appeal, Erickson attempts to equate (a) allowing the jury to
watch a one-hour videotaped interview of him dressed in jail clothes with (b) forcing him to wear
jail clothing throughout the entirety of his trial.  The briefing by Erickson is skeletal on this point,
barely sufficient to raise the issue.  Erickson has made no effort in his appellate brief to demonstrate
that the alleged error is not harmless.  In fact, Erickson's appellate brief contains absolutely no harm
analysis or any suggestion of the type of harm analysis which should be applied.

	It is generally inappropriate to compel a criminal defendant to stand trial in prison clothes. 
Estelle v. Williams, 425 U.S. 501, 504 (1976).  Doing so deprives the defendant of the right to be
presumed innocent.  Randle v. State, 826 S.W.2d 943, 945 (Tex. Crim. App. 1992).  However,
briefly seeing the accused in handcuffs or other jail clothing does not automatically create a
reversible error.  Green v. State, 829 S.W.2d 938, 939 (Tex. App.--Fort Worth 1992, no pet.) (per
curium) (momentary hallway glimpse of accused in jail clothes did not necessitate mistrial); see also
Wright v. Texas, 533 F.2d 185, 187 (5th Cir. 1976) ("We have consistently held that a brief and
fortuitous encounter of the defendant in handcuffs by jurors is not prejudicial and requires an
affirmative showing of prejudice by the defendant."). Nor does the fact that a jury sees some
photographic evidence that the accused was once dressed in jail clothes necessarily create error. 
Hollis v. State, 219 S.W.3d 446 (Tex. App.--Austin 2007, no pet.) (introduction of a mug shot of
an accused dressed in jail clothing, taken at time of arrest, is not error). 

	In this case, Erickson was not required to wear jail clothes at any point during the trial; rather,
the only opportunity during which the jury was allowed to view him in jail garb was on the
approximately one-hour-long videotaped interview.  The trial lasted four days and during that entire
period of time, Erickson was present before the jury, wearing a suit.  The jury was certainly aware
that he had been charged with a major felony and it is common knowledge that people who are
similarly charged often spend at least a certain amount of time in jail; there is nothing in the showing
of this videotape to suggest that Erickson remained incarcerated for any lengthy period of time.  We
cannot say that playing a one-hour videotaped interview in which Erickson appears in jail clothes
even closely approximates being compelled to wear jail clothes in the jury's presence for the entirety
of a four-day trial.  To further safeguard against the possibility that members of the jury might infer
that the videotaped interview showing Erickson dressed in jail clothes might taint their presumption
of innocence, the trial court admonished the jury correctly that it should not; even if it had been error
to admit the videotape of Erickson wearing jail clothes into evidence, the admonishments and
instructions provided by the court sufficiently cured any such error.  Therefore, we need not--and
do not--presume that the trial court abused its discretion by admitting the complained-of evidence
in this case.  Beyond a reasonable doubt, under the circumstances of this trial, the showing of the
videotape of Erickson did not impinge on his constitutionally-protected presumption of innocence. 
Having no basis for a finding of error in having permitted the jury to view the videotape, we need
not engage in any harm analysis.  See Tex. R. App. P. 44.2(a).

Conclusion

	For the reasons stated, we overrule Erickson's points of error and affirm the trial court's
judgment.




						Bailey C. Moseley

						Justice

Date Submitted:	January 10, 2008

Date Decided:		February 15, 2008


Do Not Publish
1. The trial court did not subsequently suspend Erickson's sentence.  See Tex. Code Crim.
Proc. Ann. art. 42.12, § 3(a), (e) (Vernon Supp. 2007) (permitting trial court to grant community
supervision if sentence does not exceed ten years).  
2. This prior assault on a child had some cogent similarities to the one for which Erickson was
being tried.  In both circumstances:  (1) the victim was a prepubescent female, (2) the abuse occurred
in the child's home while the custodial parent was absent, (3) Erickson was in a parental or adult
authority figure role, (4) the abuse came under the guise of discipline of the victim, and (5) the abuse
involved fondling or touching. 
3. The State and Erickson had previously agreed to redact certain audio portions of the
confession. 
4. A similar instruction appeared in the trial court's written jury charge.


